         Case
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                             U N ITED STATES DISTR IC T C O U R T
                                    DISTRICT OF NEVADA

     UNITED STATESOF AM ERICA,                      )
                                                    )
                        Plaintiff,                  )
           v.                                       )
                                                    )         2:10-CR-281-IU D (PAL)
     M ICHAEL CAPODICI,                             )
                                                    )
11                      Defendant.                  )
12                                   ORDER OF FORFEITURE
13        ThisCourtfound on December 15,2011,thatM ICHAEL CAPOD ICIshallpay acliminal
14 forfei
        turemoneyjudgmentof$160,000.00inUnitedStatesCurrency,pmsuanttoFed.R.Crim.P.
15   32.2(b)(1)and(2);Titlel8,United StatesCode,Section982(a)(2);Titlel8sUnitedStatesCode,
16 Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);andTitle2l,UnitedStates
17   Code,Section853(p).Docket#96.
18        THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AN D DECREED thattheUnited

19   Statesrecoverfrom M ICHAELCAPODICIacriminalforfeituremoneyjudgmentintheamotmtof
20   $160,000.00inUnitedStatesCurrencypursuanttoFed.R.Crim,P.32.2(b)(4)(A)and(B);Title18.
21   UnitedStatesCode,Section982(a)(2);Titlel8,UnitedStatesCode,Section981(a)(1)(C)mzdTitle
22 28,United StatesCode,Section2461(c);andTitle21,United StatesCode,Section 853(p).
23     DATED this ' dayof Vt'tf-                   ,20l2.
24
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25                                        <-'
                                                c
                                           UNITED STATES DISTRICT JUDGE
26
